                Case: 1:19-cv-02923
ILND 450 (Rev. 04/29/2016)                      Document
                           Judgment in a Civil Action      #: 64 Filed: 03/31/22 Page 1 of 2 PageID #:344

                                   IN THE UNITED STATES DISTRICT COURT
                                  FOR THE NORTHERN DISTRICT OF ILLINOIS

 REYNA ANGELINA ORTIZ (legal name
 RAYMOND ORTIZ), KEISHA ALLEN (legal
 name WAYNE ALLEN), AMARI GARZA (legal
 name ARMANDO GARZA), HEAVEN                                       No. 19-cv-02923
 EDWARDS (legal name PATRICK EDWARDS),
 EISHA LATRICE LOVE (legal name DARVERIS                           Judge John F. Kness
 LAMAR LOVE), SHAMIKA LOPEZ CLAY
 (legal name MARCUS CLAY), SAVANNAH
 JOSEPHINE FRAZIER (legal name TONY
 WILLIS) and KAMORA LOVELACE (legal
 name LATUAN WALKER),

 Plaintiffs,

 v.

 KIMBERLY M. FOXX, in her official capacity as
 Cook County State’s Attorney; TIMOTHY C.
 EVANS, in his official capacity as the Chief Judge
 of the Circuit Court of Cook County; and
 SHARON M. SULLIVAN, in her official capacity
 as the Presiding Judge of the County Division of
 the Circuit Court of Cook County,

 Defendants.

                                             JUDGMENT IN A CIVIL CASE

Judgment is hereby entered (check appropriate box):

                          in favor of plaintiff(s)
                          and against defendant(s)
                          in the amount of $                  ,

                          which        includes       pre–judgment interest.
                                       does not include pre–judgment interest.

        Post-judgment interest accrues on that amount at the rate provided by law from the date of this judgment.

        Plaintiff(s) shall recover costs from defendant(s).


                 in favor of defendants KIMBERLY M. FOXX, TIMOTHY C. EVANS, and SHARON M.
                 SULLIVAN,

                 and against plaintiffs REYNA ANGELINA ORTIZ (legal name RAYMOND ORTIZ), KEISHA
                 ALLEN (legal name WAYNE ALLEN), AMARI GARZA (legal name ARMANDO GARZA),
                 HEAVEN EDWARDS (legal name PATRICK EDWARDS), EISHA LATRICE LOVE (legal
                 name DARVERIS LAMAR LOVE), SHAMIKA LOPEZ CLAY (legal name MARCUS CLAY),
           Case: 1:19-cv-02923 Document #: 64 Filed: 03/31/22 Page 2 of 2 PageID #:345

              SAVANNAH JOSEPHINE FRAZIER (legal name TONY WILLIS) and KAMORA
              LOVELACE (legal name LATUAN WALKER), without prejudice.

              Defendants shall recover costs from plaintiff.


                       other:

This action was (check one):

   tried by a jury with Judge         presiding, and the jury has rendered a verdict.
   tried by Judge         without a jury and the above decision was reached.
   decided by Judge John F. Kness on defendants’ motions to dismiss (Dkt. 22, 25).


SO ORDERED in No. 19-cv-02923.

Date: March 31, 2022
                                                    JOHN F. KNESS
                                                    United States District Judge




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